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UNITED STATES DISTRICT COURT
FORTHE
Middle DISTRICT OF Florida
Case No. 3:02-er-&-J-32-TEM

(write the number of your criminal

UNITED STATES OF AMERICA

case)
% MOTION FOR SENTENCE
REDUCTION UNDER
Mlgie Moore, Defend
gie Moore, Defendant /Movant 18 U.S.C. § 3582(c)(1)(A)

(Compassionate Release)

Write your full name here. .
(Pro Se Prisoner)

NOTICE

The public can access electronic court files. Federal Rule of Criminal Procedure 49.1
addresses the privacy and security concerns resulting from public access to electronic court
files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be aminor; ora
complete financial account number. A filing may include only: the last four digits of a social

security number; the year of an individual’s birth; a minor’s initials; and the last four digits of

a financial account number.

Does this motion include a request that any documents attached to this motion be filed

under seal? (Documents filed-under seal are not available to the public.)
kK] Yes Proposed release Plan Attachment 1

[1 No

If you answered yes, please list the documents in section IV of this form.

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I. SENTENCE INFORMATION

Date of sentencing: May 29, 2003

Term of imprisonment imposed: 322 Months
Approximate time served to date: 21 Years 3 months
Projected release date: . 2027

Length of Term of Supervised Release: _ 6 years

Have you filed an appeal in your case?

kk] Yes
CD} No
Are you subject to an order of deportation or an ICE detainer?
C) Yes
® No
I. #&XHAUSTION OF ADMINISTRATIVE REMEDIES'

18 U.S.C. § 3582(c)(1)(A) allows you to file this motion (1) after you have fully exhausted all
administrative rights to appeal a failure of the Bureau of Prisons to bring a motion on your
behalf, or (2) 30 days after the warden of your facility received your request that the warden
make a motion on your behalf, whichever is earlier.

Please include copies of any written correspondence to and from the Bureau of Prisons related
to your motion, including your written request to the Warden and records of any denial from

the Bureau of Prisons.
See Exh. 1

' The requirements for this compassionate release motion being filed with the court differ from
the requirements that you would use to submit a compassionate release request to the Bureau
of Prisons. This form should only be used for a compassionate release motion made to the
court. If you are submitting a compassionate release request to the Bureau of Prisons, please
review and follow the Bureau of Prisons program statement.

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Have you personally submitted your request for compassionate release to the Warden
of the institution where you are incarcerated?

fx Yes, I submitted a request for compassionate release to the warden on
11/04/23 . See Exh. 1

O No, I did not submit a request for compassionate release to the warden.

if no, explain why not:

Was your request denied by the Warden?

O Yes, my request was denied by the warden on (date):

£¥ No. I'did not receive a response yet.

Ill. GROUNDS FOR RELEASE

Please use the checkboxes below to state the grounds for your request for compassionate
release. Please select all grounds that apply to you. You may attach additional sheets if
necessary to further describe the reasons supporting your motion. You may also attach any
relevant exhibits. Exhibits may include medical records if your request is based on a medical
condition, or a statement from a family member or sponsor.

A. Are you 70 years old or older?

OO Yes.
n/a
OO No.

If you answered no, go to Section B below. You do not need to fiil out Section A.

lf you answered yes, you may be eligible for release under 18 U.S.C, § 3582(c)(1)(A)(ii) if you
meet two additional criteria. Please answer the following questions so the Court can determine
if you are eligible for release under this section of the statute.

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Have you served 30 years or more of imprisonment pursuant to a sentence imposed
under 18 U.S.C. § 3559(c) for the offense or offenses for which you are imprisoned?

oO Yes. n/a
O No.

Has the Director of the Bureau of Prisons determined that you are not a danger to the

safety of any other person or the community?

DO Yes.
n/a

O No.

B. Do you believe there are other extraordinary and compelling reasons for your
release? )

x] Yes.
OO No.

If you answered “Yes,” please check all boxes that apply so the Court can determine whether
you are eligible for release under 18 U.S.C. § 3582(c){1)(A)(i).

[™ Ihave been diagnosed with a terminal illness.

1 Ihave a serious physical or medical condition; a serious functional or cognitive
impairment; or deteriorating physical or mental health because of the aging
process that substantially diminishes my ability to provide self-care within the
environment of a correctional facility, and I am not expected to recover from this

condition.

C Lam 65 years old or older and Tam experiencing a serious deterioration in

physical or mental health because of the aging process.’

1) The caregiver of my minor child or children has died or become incapacitated ©

and Iam the only available caregiver for my child or children.

[1 My spouse or registered partner has become incapacitated and I am the only

available caregiver for my spouse or registered partner.

¥%¥ There are other extraordinary and compelling reasons for my release.

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Please explain below the basis for your request. If there is additional information regarding any
of these issues that you would like the Court to consider but which is confidential, you may
include that information on a separate page, attach the page to this motion, and, in section IV
-below, request that that attachment be sealed.

I_ base ‘this request on a combination of fhe following

extraordinary and compelling reasons: 1Unusually long sentence;

2 Post conviction rehabilitation; 3 young age at the time of
the offense-21 years and under; 4 harsh prison condition due to the

Covid pandemic: 5 The guidelines are advisory;
7 —s ?

6 Release Plan; 7 gross disparity between the 30 years maximum

sentence that Mr. Moore was facing in 2003 and the 20 years maximum

that he would face today. Also see Exh.1 (request to wardeng

In addtion see Consolidated Motion/ Supporting Memorandum

for reduction in sentence. This Motion Complies with the New Amendments

to the U.S.S.G. 1b1-13(b) (6); (8 1b1.13(d) (Nov. 1, 2023)
Iv. ATTACHMENTS AND REQUEST TO SEA

Please list any documents you are attaching to this motion. A proposed release plan is included
as an attachment. You are encouraged but not required to complete the proposed release plan.
A cover page for the submission of medical records and additional medical information is also
included as an attachment to this motion. Again, you are not required to provide medical
records and additional medical information. For each document you are attaching to this
motion, state whether you request that it be filed under seal because it includes confidential
information. _

Document Attached? Request to seal?
Proposed Release Plan xf Yes No 73 Yes CNo
Additional medical information OYes ONo 0 Yes C1 No
CYes OYes No
Ci Yes 0 Yes 0 No

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Vv. REQUEST FOR APPOINTMENT OF COUNSEL

I do not have an attorney and I request an attorney be appointed to help me.

XX Yes
C No

VI. MOVANT’S DECLARATION AND SIGNATURE

For the reasons stated in this motion, I move the court for a reduction in sentence
(compassionate release) under 18 U.S.C. § 3582(c)(1)(A). I declare under penalty of
perjury that the facts stated in this motion are true and correct.

«\D- Dads lac (Lea?

Date Signature 27

Algie Moore

Name

30003-018

Bureau of Prisons Register #

USP Canaan

Bureau of Prisons Facility

P.O. Box 300 Waymart PA 18472

Institution’s Address

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